






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00161-CR







James Logan Diez, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 119TH JUDICIAL DISTRICT


NO. 12,797-B, HONORABLE CURT F. STEIB, JUDGE PRESIDING






PER CURIAM

James Logan Diez, an inmate in the Texas Department of Criminal Justice-Institutional Division, filed a motion in the district court seeking an order directing the department
to credit his sentence for additional time served and to correct his release date.  On February 23,
2001, the court signed an order denying Diez's request.  The order states that the documents
attached to appellant's motion reflect that he has received all the credits to which he is entitled. 
Diez filed a written notice of appeal from the district court's order on March 7.

The district court's order is not an appealable one.  The proper procedure for
asserting a denial of time credit is a post-conviction habeas corpus application.  See Tex. Code
Crim. Proc. Ann. art. 11.07 (West Supp. 2001); see also Ex parte Whiteside, 12 S.W.3d 819
(Tex. Crim. App. 2000); Ex parte Evans, 964 S.W.2d 643 (Tex. Crim. App. 1998).


The appeal is dismissed for want of jurisdiction.


Before Chief Justice Aboussie, Justices Yeakel and Patterson

Dismissed for Want of Jurisdiction

Filed:   April 12, 2001

Do Not Publish



